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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION



UNITED STATES OF AMERICA                      )
                                              )
v.                                            )                    4:12-CR-00306-13-KGB
                                              )
RODNEY LYNN SPRADLIN                          )


                                              ORDER

       The government has filed a motion to revoke bond (docket entry no. 222), and the issue

has been referred to the undersigned for disposition. The Clerk is directed to issue a summons

for the defendant to appear on this motion. The summons should direct the defendant to appear

on Friday, February 22, 2013, at 10:00 a.m.

       IT IS SO ORDERED this 14         day of February, 2013.




                                                  UNITED STATES MAGISTRATE JUDGE
